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Evan Hu, Esq. (SBN 305447)
Abusharar and Associates

501 N. Brookhurst St. #202
Anaheim, CA 92801

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Email: associate2@abushararlaw.com
Attorney for Plaintiffs

Karen Shokry Wahba Athanasious;
Safa Yousef Kamel Ghabbour;
Amy Safa Yousef Kamel Ghabbour,

Plaintiff,
Vs.

United States Department of Homeland
Security; United States Citizenship and
Immigration Services; Alejandro Mayorkas,
Secretary, Department of Homeland Security;
Tracy Renaud, Senior Official Performing the
Duties of Director, U.S. Citizenship and
Immigration Services; Los Angeles Asylum
Office; David Radel, Director of the Los
Angeles Asylum Office; Christopher A. Wray,
Director of Federal Bureau of Investigations
Attorney General, US Department of Justice

Defendants.

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

 

 

IMMIGRATION MANDAMUS - 1

 

 

INTRODUCTION

1. This action is brought by Plaintiffs Karen Shokry Wahba Athanasious, Safa Yousef
Kamel Ghabbour and Amy Safa Yousef Kamel Ghabbour, by and through her attorney, to
request issuance of a writ of mandamus or in the nature of mandamus and/or to compel under the

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF

Filed 06/21/21 Pagelof64 Page ID#1

Case No.:

COMPLAINT FOR DECLARATORY AND
INJUNCTIVE RELIEF AND FOR A WRIT
IN THE NATURE OF IMMIGRATION
MANDAMUS

 
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Administrative Procedure Act (“APA”) and 8 USC 1447 (b) ordering Defendants and those
acting under them to adjudicate their Application for Asylum and for Withholding of Removal
which was received and pending as of June 28, 2013 and which has still has not been
adjudicated.

2. Plaintiff Karen Shokry Wahba Athanasious filed for asylum, with Safa Yousef Kamel
Ghabbour as her derivative spouse and Amy Safa Yousef Kamel Ghabbour as her derivative
child on June 28, 2013. The basis of her asylum claim is that she is an evangelical Christian
from Egypt and that she has been persecuted there on account of her religion. Plaintiff Karen
Shokry Wahba Athanasious fears that if she is returned to Egypt she and her family will be
persecuted again by the same or similar people who previously persecuted her.

3. On April 21, 2015, Plaintiff and her family appeared for the asylum interview(s) at the
Los Angeles Asylum Office and gave credible testimony in support of the application. The
interview was successfully concluded and she was not told that she had to return for another
interview or to provide additional documents.

4. Since the date of the asylum interview, Plaintiff Karen Shokry Wahba Athanasious has
been unable to obtain any information about why her case has not received a decision, she has
sent numerous letters and e-mails to the Los Angeles Asylum Office and does not receive any
meaningful reply. She has no way of knowing if or when her case may be adjudicated,
leaving her and her family with significant legal uncertainty which affects every aspect of their

lives.

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF
IMMIGRATION MANDAMUS - 2

 

 

 
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5. Defendants have violated the Administrative Procedures Act (“APA”) by failing to
process and adjudicate Plaintiffs’ asylum application which has been pending now for over six
years. Plaintiffs seck to compel Defendants, through a writ of mandamus, to either grant or deny
Plaintiffs’ pending asylum application.

PARTIES

6. Plaintiff, KAREN SHOKRY WAHBA ATHANASIOUS filed for asylum with the
Laguna Nigel Service Center on June 28, 2013. Mrs. Athanasious is an Egyptian citizen who
resides in Los Alamitos, California.

7. Plaintiffs SAFA YOUSEK KAMEL GHABBOUR and AMY SAFA YOUSEF KAMEL
GHABBOUR are Plaintiff KAREN SHOKRY WAHBA ATHANASIOUS’s derivative family
members and are Egyptian citizens who reside in Los Alamitos, California.

8. Defendant UNITED STATES DEPARTMENT OF HOMELAND SECURITY
(hereinafter “DHS”) is an agency of the United States government involved in the acts
challenged, employs the officers named as defendants, and includes the U.S. Citizenship and
Immigration Services and the Los Angeles Asylum Office, and officers named as defendants in
this complaint.

9, Defendant UNITED STATES CITIZENSHIP AND IMMIGRATION SERVICES
(hereinafter “USCIS”) is an agency of the United States government under the DHS, overseeing
the Los Angeles Asylum Office and officers named as defendants in this Complaint.

10. Defendant ALAJANDRO MAYORKAS (hereinafter “Director Mayorkas”) is the

Director of the Department of Homeland Security. This suit is brought against Director

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF
IMMIGRATION MANDAMUS - 3

 

 

 
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Mayorkas in his official capacity, as he is charged with the administration and enforcement of all
immigration and citizenship laws that are bound in the powers, duties, and functions of the
Department of Homeland Security.

11. Defendant TRACY RENAUD (hereinafter “Senior Official Renaud”) is the Senior
Official Performing the Duties of Director of USCIS, the Agency charged with adjudicating
Plaintiffs’ naturalization application. This suit is brought against Senior Official Renaud in her
official capacity, as she is charged with oversight, administration, and execution of immigration
laws of the United States.

12. Defendant LOS ANGELES ASYLUM OFFICE (hereinafter “Los Angeles Asylum
Office”) is an office within USCIS and the federal agency with direct authority and responsibility
to adjudicate Plaintiff's asylum application.

13. Defendant DAVID RADEL (hereinafter “Director Radel’) is the director of the Los
Angeles Asylum Office. This suit is brought against Director Radel in his official capacity, as he
is charged overseeing the adjudication of asylum applications at the Los Angeles Asylum Office
in a timely manner, and ensuring the efficiency of the officers employed.

14, Defendant CHRISTOPHER A. WRAY (hereinafter “Director Wray”) is the Director of
the Federal Bureau of Investigations. This suit is brought against Director Wray in his official
capacity, as he is responsible for overseeing the background checks involved with immigration

matters.

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF
IMMIGRATION MANDAMUS - 4

 
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JURISDICTION

15. The Administrative Procedure Act (“APA”) recognizes a right of judicial review for any
person “suffering legal wrong because of an agency action or aggrieved or adversely affected by
such action within the meaning of any relevant statutes.” 5 U.S.C. § 702. Plaintiffs suffered a
legal wrong and continue to suffer because of the Defendants’ failure to act upon the pending
asylum application for indefinite periods of time. The Defendants have a duty under 8 U.S.C. §
1158(d}(5)(A (iii).

16. The APA also provides pursuant to 5 U.S.C. § 706(1) that courts “shall compel agency
action unlawfully withheld.” Courts have held that this provision eliminates court discretion to
grant relief once an agency has violated a statutory deadline. See Biodiversity Legal Foundation
v, Badgley, 309 F.3d 1166, 1178 (9 Cir. 2002) (noting that when “Congress has specifically
provided a deadline for performance, ... no balancing of factors is required or permitted.”)

17. This Court has jurisdiction over the present action pursuant to 28 U.S.C. § 1131; 28
U.S.C. $1361, the Mandamus Act; 28 U.S.C. § 1651, 28 U.S.C. §2201, the Declaratory
Judgment Act; and 5 U.S.C. §701-706, the Administrative Procedures Act. Costs and attorney
fees will be sought pursuant to the Equal Access to Justice Act, 5 U.S.C. §504 and 28 U.S.C.
§2412(d), et seq. Relief is requested pursuant to said statutes.

VENUE

18. Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(e), which provides that in a
civil action in which each defendant is an officer or employee of the United States or any agency
thereof acting in his or her official capacity, or under the color of legal authority, or any agency

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF
IMMIGRATION MANDAMUS - 5

 

 

 
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of the United States, the action may be brought in any judicial district in which a plaintiff
resides, so long as no real property is involved in the action. Plaintiff resides in Los Alamitos,
California, which is located in the Central District of California. No real property is involved in
this action. Therefore, venue is proper in this Court.
EXHAUSTION OF REMEDIES

19. Plaintiffs have no administrative remedies. Plaintiffs have, through her attorney and on
her own, made numerous inquiries to USCIS to determine the status of the asylum application, to
no avail. There are no administrative remedies for neglect of duty.

CAUSE OF ACTION

20. Pursuant to 8 U.S.C. §1158, Plaintiff Karen Shokry Wahba Athanasious filed her asylum
application with Plaintiffs Safa Yousef Kamel Ghabbour and Amy Safa Yousef Kamel Ghabbour
as her derivatives, to the Laguna Nigel Service Center on June 28, 2013. (Exhibit A- Receipt
Notice and Biometric Notices).

21, Plaintiffs attended their asylum interviews at the Los Angeles Asylum Office on April 21,
2015. The interviews were successfully concluded and they were not asked to return again,
rather, the interview was successfully concluded. (Exhibit B- Letter to Karen Athanasious).

22. Since the date of the asylum interview, Plaintiffs have not received any decision about
whether they were approved for asylum or not, rather, they have been kept waiting for an

indeterminate period of time with no foreseeable end in sight.

COMPLAINT FOR DECLARATORY AND INJONCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF
IMMIGRATION MANDAMUS - 6

 

 

 
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23. Since the date of the interview, Plaintiffs have contacted the Los Angeles Asylum Office
on multiple occasions to determine the status of their asylum application but they have received
no meaningful response. (Exhibit C —- Index of Communications and copies of e-mails).

24. Defendants have a statutory duty to adjudicate asylum requests within 180 days of filing
pursuant to 8 U.S.C. § 1158(d)(5)(A)Gii). It has been over six years since Plaintiffs applied for
Asylum and they have not yet received a decision on their cases.

25. Plaintiffs have no adequate remedy at law, and will suffer irreparable harm if their
naturalization application is not promptly adjudicated.

26. Pursuant to 28 U.S.C. § 1361, this Court has “original jurisdiction in the nature of the
mandamus to compel an officer or employee of the United States or any agency thereof to
perform a duty owed to the [Plaintiffs.]”

27. Pursuant to 28 U.S.C. § 1651, this Court may issue any and all “writs necessary or
appropriate in aid of [the Court’s] respective jurisdiction [ | and agreeable to the usages and
principles of law.”

CLAIM FOR RELIEF

28. Plaintiffs’ claim in this action is clear and certain. Plaintiff realleges paragraphs 1
through 27 as if fully set forth, and, Plaintiffs are entitled to an order in the nature of mandamus
to compel Defendants to complete the adjudication of their asylum application.

29. As aresult of Defendants’ failure to perform their duties, Plaintiffs have suffered, are

suffering, and will continue to suffer irreparable harm. Specifically:

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF
IMMIGRATION MANDAMUS - 7

 

 

 
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a. Plaintiffs have been irreparably damaged from the fear of not knowing what will
happen with their asylum case for the past six years. They have been constantly
hoping for a favorable answer to their application for asylum, so they would not
have to worry about their family’s future. Because of the long wait and
unknowing, Plaintiff Plaintiff Karen Shokry, Wahba Athanasious, Safa Yousef
Kamel Ghabbour and Amy Safa Yousef Kamel Ghabbour are enduring significant
psychological damage.

b. The delay is causing irreparable harm to Plaintiffs who are not able to continue
with their lives in the United States without fear of returning to Egypt, a country
where they will more likely than not be persecuted, tortured, or killed.

30. The Defendants, in violation of the Administrative Procedures Act, are unlawfully
withholding or unreasonably delaying action on Plaintiff's application, and have failed to carry
out the non-discretionary adjudicative functions delegated to them by law with regard to
Plaintiff's case.

31. The duty of the Defendants is non-discretionary, ministerial, and so plainly described as
to be free from doubt that mandamus is appropriate.

32. Defendants’ delay, actions, and omissions in this case are unreasonable. No other
adequate remedy is available. Plaintiffs have been greatly damaged by the failure of Defendants

to act in accord with their duties under the law.

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF
IMMIGRATION MANDAMUS - 8

 

 

 
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PRAYER
33. WHEREFORE, in view of the arguments and authorities noted herein, Plaintiffs
respectfully prays that the Defendants be cited to appear herein and that, upon due consideration,
the Court:

a. Accept jurisdiction and maintain continuing jurisdiction of this action;

b. Declare as unlawful the violation by Defendants of failing to act on a properly
filed asylum application;

c. Declare Defendants’ failure to carry out the adjudicative functions delegated to
them by law with regard to Plaintiffs’ case as agency action unlawfully withheld
and unreasonably delayed, pursuant to 5 U.S.C. § 706(1);

d. Issue a preliminary and permanent injunction pursuant to 28 U.S.C. § 1361 and 5
U.S.C. § 706(1) compelling the Defendants to take action on Plaintiffs’
application;

e. Issue a writ in the nature of mandamus pursuant to 28 U.S.C. § 1361, 28 U.S.C. §
1651, and 5 U.S.C. § 706(1), compelling the Defendants to take action on
Plaintiffs’ application by either approving or refusing said applications, and if the
applications are refused, that the decisions include justification to preclude the
sense of retaliation for having brought this lawsuit or having exposed the
Defendants’ neglect;

f. Grant attorney’s fees and costs of this suit under the Equal Access to Justice Act,

28 U.S.C. § 2412;

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF
IMMIGRATION MANDAMUS - 9

 

 

 
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g. Grant such other relief at law and in equity as justice may require.

Dated this 21st day of June, 2021 Respectfully Submitted,

/s/ Evan Hu
Evan Hu, Esq.
Counsel for Plaintiff

 

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF
IMMIGRATION MANDAMUS - 10

 

 
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LIST OF EXHIBITS TO COMPLAINT FOR DECLARATORY AND INJUNCTIVE
RELIEF AND FOR A WRIT IN THE NATURE OF IMMIGRATION MANDAMUS

ATHANASIOUS vy UNITED STATES DEPARTMENT OF HOMELAND SECURITY

 

 

 

 

 

 

 

Exhibit | Description Page
A Asylum Interview Notes 1-4
B Letter to Karen Anthanasious from Los Angeles Asylum Office 5-6
C Index of E-Mail Communications and E-mails 7-49

 

 

IMMIGRATION MANDAMUS - 11

 

 

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF

 
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EXHIBIT A
 

 
 

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Department of Homeland Security
US, Citizenship and Immigration Services

Form 1-797C, Notice of Action

 

THIS NOTICE DOES NOT GRANT ANY IMMIGRATION STATUS OR BENEFIT.

 

 

 

 

 

 

 

 

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KAREN SHOKRY WAHBA ATHANASIOUS | gh
cfo HANI S BUSHRA _ : l
LAW OFFICES OF HANI S BUSHRA — ab Aba &
16541 GOTHARD ST STE 208 — a .
-{ HUNTINGTON BEACH CA 92647 a . - i

 

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| You have been scheduled to appear at the below USCIS Application Support Center (ASC) to be fingerprinted and photographed

(biometrics collection) during the 4-day period specified below. Completion of background identity and security checks is
required in order to process your application.

 

Hours of Operation -
Address , 14-Day Period CLOSED ON FEDERAL HOLIDAYS
USCIS BUENA PARK C70672013 Sat - Sun Closed
8381 LA PALMA AVE ta Mon - Fri 8am-4pm
SUITE A 07/20/2013
BUENA PARK CA 906203207

Failure to appear as scheduled for fingerprinting and biometrics collection during the 14-Day period may delay eligibility for work
authorization and/or result in an asylum officer dismissing your asylum application, and/or referring it to an Immigration Judge.

When you appear for fingerprinting and biometrics collection, you MUST BRING THIS LETTER. Even if you are scheduled ae
the same time as your family members, each individual must bring his or her own notice. If you do not bring this letter, you will
not be able to have your fingerprints taken. This may couse a delay in the processing of your application and your
eligibility for work suthorization. You shoutd also bring photo identification such as a passport, valid driver's license, national
1D, military ID, State-isstied photo 1D, or USCIS-issued photo ID. If you do not have any photo identification, please expect a
minor delay, as you will need to be interviewed by a USCIS officer regarding your identity. Note: Asylum applicants are not
required to present identification documents in order to have fingerprints and biometrics collected.

_ Please note that the staff at the ASC will not be uble to answer any questions about the status of your application. We appreciate
your patience during the process,

Pursuant to Section 265 of the Immigration and Nationality Act, you are required to notify the USCIS, in writing, of any address
changes, within 10 days of such change. If you were placed in removal proceedings before an Immigration Judge, you are also
required to notify the Immigration Court having jurisdiction over your case of any change of address within 5 days of such change,
on Form EOIR-33. Include your name, signature, address, and USCIS Ad on any written notice of change of address. The USCIS
will use the last address you provided for ali correspondence, and you ore responsible for the contents of all USCIS
correspondence sent to that address. Failure to provide your current address as required may result in disrnissal or referral of your
asylum application, institution of removal proceedings, the entry of a removal order in your absence if you fail to appear for
hearing before an immigration judge, and removal from the United States. If you have any questions or comments regarding the

_Status of your application, please contact the office with jurisdiction ever your application,

 

 

If you have any questions regarding this notice, please call 1-800-375-5283, REPRESENTATIVE COPY

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Please see the back of this notice for important information.

 

 
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Department of Horacland Security . : .
US. Citizenship and Immigration Services - Form 1-797C, Notice of Action

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Fingerprint Notification : —. July 03, 2013

 

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| 16541 GOTHARD STSTE208
HUNTINGTON BEACH CA 926470

 

 

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(biometrics collection) during the 14-day period specified below. Completion of background identity and security checks is
required in order to process your application. .

 

Hours of Operation
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USCIS BUENA PARK 07/08/2013 Sat - Sun Closed
9381 LA PALMA AVE to Mon - Fri Sam-4pm
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BUENA PARK CA 906203207

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authorization and/or result in an asylum officer dismissing your asylum: application, and/or referring it to an Imenipration Judge.

When you appear for fingerprinting and biometrics collection, you MUST BRING THIS LETTER. Even if you are scheduled at
the same time as your family members, each individual must bring his or her own notice. If you do not bring this letter, you will
. Hot be able to have your fingerprints taken. This may cause a delay in the processing of your application and your
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minor delay, as you will need to be interviewed by a USCIS officer regarding your identity. Note: Asylum applicants are not
required to present identification documents in order to have fingerprints and biometrics colfeeted.

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_ Please note that the staff'at the ASC will not be able to answer any questiuns about the status of your application. We appreciate
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- changes, within 10 days of such change. If you were placed in removal proceedings before an Immigration Judge, you are also
required to notify the Immigration Court having jurisdiction over your case of any change of address within 5 days of such change,
on Form EOIR-33. Inchide your name, signature, address, and USCIS A# on any written notice of change of address. The USCIS
will use the last address you provided for all correspondence, and you are responsible for the contents of all USCIS
correspondence sent to that address, Failure to provide your current address as required may result in dismissal or referral of your

- asylum application, institution of removal. proceedings, the entry of'a removal order in your absence if you fail to appear fora
hearing before an immigration judge, and removal from the United States. If you have any questions or comments regarding the
status of your application, please contact the office with jurisdiction over your application. - :

 

 

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Please see the back of this notice for important information.
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APPLICANT NAME ANGE MAILING ADDIE

AMY SAPFA YOUSEF KAM GHABBOUR
cio HANES BUSTIRA

LAW OFFICES OF HANTS BUSHRA
165-41 GOTHARD ST STE 208
HUNTINGTON REACH CA 92647

 

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Hours of Operation

 

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VENA PARK CA 6203207

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PED, military 11, State-issucd photo 1D, up USCTS-issued phot 1, Hye de not have any photo identification, please expecta

minor delay, as you will nved lo be interviewed by a USCIS offices regarding your identity, Note: Asylans applicants are not

requir ed fp Present i identification documents in order to have fingerprints wed biometrics collected.

Please note that the staif at te ASC will not be able to saswer ay questions aboat the stalus of your application. We appreetate
your patience ducing the process. -

Pursuant to Section 265 of the Immigration and Nationality Act, you are required to natity the USCIS, ia writing, of any address
ehunges, within 10 days of such change. Uf you were placed in removal proceedings before an bnmtigration Judge, you are alsa
required to notify the hnmigration Court having jurisdiction over your case of any change of address within 5 days of such change.
on Form EOIR-33. Inchide your numy, sigualure. address, and USCIS Af on any written notice of change of address. The USCIS
will use the hast address you provided fur all correspondence, anit you are responsible for ihe contents ofall USCIS
conespondence sent to that address, Failure to provide your cunent address as required may result in dismissal or referral of your
asylui application, institution of removal proceedings, the entiy ofa removal order in your absence if you fail te appear for a
hearing before an immigration judge. and removal from the United States. [you have any questions ar comments regarding te
status of your application, please contact de office with jurisdiction over your application,

 

Ifyou hive any questions regarding this notice, plense cull 1-800-175-5283. REPRESENTATIVE COPY

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Please sev ie hack of this notice far important infurniation.

 
Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page17 of 64 Page ID#:17

EXHIBIT B
Case 8:21-cv-01080-JVS/DFM Document 1. Filed 06/21/21 (a5 18 of 64 Page ID #:18

U.S. Department of Homeland Security
U.S. Citizenship and Immigration Services
P.O. Box 65015

Anaheim CA 92815-8515

 

 

 

U.S. Citizenship
and Immigration
Services
April 21, 2015
Mrs. Karen Shokry Wahba Athanasious
2560 West La Palma Ave # 130
Anaheim, CA 92801 NAME OF BENEFICIARY

Athanasious, Karen
DATE: 04/21/2015

 

 

FILE NO. 205 784 039

 

FORM NO. 1-589
OFFICER = R.Niazi
714-808-8000 EXT. 8090

 

 

 

 

 

PLEASE COMPLY WITH THE BELOW CHECKED [X] INSTRUCTIONS

[] 1. The above application/petition and its supporting documents are attached.

[_] 2. The above application/petition and its supporting documents have been forwarded to your attorney or
representative.

[-] 3. Please complete the blocks on your enclosed application/petition which are checked J in red.

. Please follow the Instructions on your enclosed application/petition which are checked T | in red.
Furnish the required fee of $
Furnish the Birth or baptismal certificate of
Furnish the marriage certificate for.

Furnish all the pages of the passports. This should include the cover page and blank pages and the
cover page.

[-] 9, A foreign document must be accompanied by a translation in English. The translator must certify that
he/she is competent to translate and that the translation is accurate.

[_] 10. Furnish the date and port of each of your entries into the United States and the name of the ship,
plane, or other vehicle on which you traveled.

[_] 11. Except for aliens with occupations listed under Schedule A, 20 Code of Federal Regulations, Part
656.10, a certification from the Secretary of Labor must be obtained before your petition or application may
be resubmitted to the Service. Further information and Department of Labor forms and instructions may be
obtained from the local office of the state employment service agencies.

[_] 12. You have indicated that you do not intend to seek employment. You must furnish evidence that you
have sufficient funds or other means of maintaining yourself in this country.

[_] 13. Furnish four (4) color photographs. These photos must have a white background, photos must be
glossy, un-retouched, and mounted. Dimension of the facial image should be about 1 inch from chin to top of

hair or head, shown in frontal view of face with ears visible. Using soft pencil or felt pen, print name (and

PLEASE MAIL TO TRAVIS OLSEN, AO BY NOVEMBER 1, 2013
1585 S. MANCHESTER AVE. ANAHEIM, CA 92802

 

OOOO

FORM I-72 .
REV, 4-1-83 ZLA REV: 02/28/03 Ss
Case 8:21-cv-01080-JVS-DFI Document 1 Filed 06/21/21 Page 19 of 64 Page ID #:19

alien registration receipt numper, if known) on the back of each photograph. You should show these
instructions to the photographer who takes the pictures.
[-] 14. You may now apply for adjustment of status, on the attached forms, for yourself and the below listed
persons.
[_] 15. Your proof of status documents have been checked and are attached. Your application/petition is
being processed and will be completed in the near future.
[-] 16. You are granted additional time until April 23, 2015 to submit the evidence indicated above.
Xx 17. OTHER: Please provide a copy of the applicant’s, Mrs. Karen Shokry Wahba Athanasious,
original declaration as written by the applicant in her native Arabic language. We request a
copy of the original declaration of the applicant the English translation of which was
submitted to this office along with the applicant’s application for asylum (1-589) and which
was used for the applicant’s asylum interview on 04/21/2015.

PLEASE MAIL TO TRAVIS OLSEN, AO BY NOVEMBER 1, 2013
1585 S. MANCHESTER AVE. ANAHEIM, CA 92802
FORM I-72
REV. 4-1-83 ZLA REV: 02/28/03 &
Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 20 o0f64 Page ID #:20

EXHIBIT C
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 21o0f64 Page ID#:21
INDEX OF COMMUNICATIONS

Date Description Page
1/28/21 Email from Karen Athanasious to David Radel 7
1/2/19 Email from Karen Athanasious to David Radel 8
12/6/18 Email from Karen Athanasious to David Radel 9
11/29/18 Email from Karen Athanasious to David Radel 10
11/14/18 Email from Karen Athanasious to David Radel 11
10/11/18 Email from Karen Athanasious to David Radel 12
9/26/18 Email from Karen Athanasious to David Radel 13
9/19/18 Email from Karen Athanasious to David Radel 14
9/13/18 Email from Karen Athanasious to David Radel 15
9/6/18 Email from Karen Athanasious to David Radel 16
8/29/18 Email from Karen Athanasious to David Radel 17
8/22/18 Email from Karen Athanasious to David Radel 18
8/15/18 Email from Karen Athanasious to David Radel 19
8/9/18 Email from Karen Athanasious to David Radel 20
8/2/18 Email from Karen Athanasious to David Radel 21
T/26/18 Email from Karen Athanasious to David Radel 22
7/19/18 Email from Karen Athanasious to David Radel 23
7/11/18 Email from Karen Athanasious to David Radel and reply 24-25
7/5/18 Email from Karen Athanasious to David Radel 26
7/5/18 Email from Karen Athanasious to David Radel and reply 27-28
3/7/18 Asylum Case Status Inquiry Form 29
1/25/18 Letter to Karen Athanasious from David Radel 30
12/11/17 Letter from Hani Bushra, Esq. to USCIS 31-32
12/4/17 Email from Karen Athanasious to David Radel 33
8/30/17 Asylum Case Status Inquiry Form 34
3/22/17 Asylum Case Status Inquiry Form 35
3/16/17 Letter from David Radel to Karen Athanasious 36-37
3/8/17 Asylum Case Status Inquiry Form 38
3/8/17 Email from Stephen Smith to Sallie Dickstein 39
12/16/16 Letter from Hani Bushra, Esq. to LA Asylum Office 40
11/4/16 Letter from David Radel to Karen Athanasious 41-42
11/3/16 Asylum Case Status Inquiry Form 43
8/25/16 Asylum Case Status Inquiry Form 44
T/13/16 Asylum Case Status Inquiry Form 45
5/18/16 Asylum Case Status Inquiry Form 46
4/20/16 Note from Karen Athanasious to USCIS 47
4/20/16 Asylum Case Status Inquiry Form 48
11/18/15 Asylum Case Status Inquiry Form 49

 

 

 

 

 
6/9/2024 . Mail - karen wahba - Gutlook

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 22 of 64 Page ID #:22

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Re: EXPEDITED DECISION REQUESTED, Inquiry # 58

karen wahba <karenwahba@hotmail.com>
Thu 1/28/2021 8:43 PM
To: USCIS-CaseStatus@dhs.gov <USCIS-CaseStatus@dhs.gov>

Dear Mr.Radel,

| hope this e mail finds you well.
Since me and my family did our interview on 04/26/2015, we did not get a decision yet. This is almost my 58th inquiry - if not more- about

the status of my asylum case decision , | tried several times to check at the office about any updates or reasons why there is no decision
made during all that time, but no one was able to help me out.

Even my lawyer can't find out the reason why there is no decision made in my case... it looks like my lawyer needs a lawyer to help him.

Sir, you are my last resort for help, can you please let me know what is going on in my case? USCIS staff always says "if any information still
needed ,they will let me know", but they do not ask for any, and in the same time no decision is being made. so, if they have all the needed
information to give a final decision, then why is the delay? and if there is something missing whey no one ask for it?

Even me -the main applicant- | can't find out the reason for that delay, so who can help me with that, it looks like a closed circle with no end.

Sir, Please, Please, please help me and my family by having an officer examine my case and give a final decision or inform me about the
reason for that delay maybe we can offer any needed information that can help.

If because of the long-time period between our interview date 04/26/2015 and today maybe the case officer is not comfortable to take a
decision, we are more than happy to re-do an interview — if this can help-, If any documents are still needed, we can offer it. But just fet us
know what is needed.

Thank you very much for your time reading this e mail.

Kind regards

Karen Athanasious.
01/28/2021

Sent from Outlook

Wt
 

6/9/2021 Mail - karen wahba - Outlook

Re: EXPEDITED DECISION REQUESTED, Inquiry # 57

karen wahba <karenwahba@hotmail.com>
Wed 1/2/2019 5:01 PM

To: USCIS-CaseStatus@dhs.gov <USCIS-CaseStatus@dhs.gov>
Re: Asylum case #A 205 784 039

Dear Mr.Radel,

| hope this e mail finds you well.
Since me and my family did our interview on 04/26/2015, we did not get a decision yet. This is almost my 57th inquiry - if not more- about

the status of my asylum case decision , | tried several times to check at the office about any updates or reasons why there is no decision
made during all that time, but no one was able to help me.

Even my lawyer can not find out the reason why there is no decision made in my case... it looks like my lawyer needs a lawyer to help him.

Sir, you are my last resort for help, can you please let me know what is going on in my case? The staff always says if they need more
information they will let me know, but they do not ask for any, and in the same time no decision is being made. so, if they have all the needed
information to give a final decision, then why is the delay? And if there is something missing whey no one ask for it?

Even me -the main applicant- | can not find out the reason for that delay, so who can help me with that, it looks like a closed circle with no
end.

Sir, Please, Please, please help me and my family by having an officer examine my case and give a final decision or inform me about the
reason for that delay maybe we can offer any needed information that can help.

if because of the long-time period between our interview date 04/26/2015 and today maybe the case officer is not comfortable to take a
decision, we are more than happy to re-do an interview — if this can help-, If any documents are needed, we can offer it, But just let us know
what is needed.

Thank you very much for your time reading this e mail.
Kind regards

Karen Athanasious.
1/2/2019

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 23 of 64 Page ID #:23

Sent from Outlook

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6/9/2021 ; Mail - karen wahba - Outlook

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 24 0f64 Page ID #:24

EXPEDITED DECISION REQUESTED, Inquiry # 56

karen wahba <karenwahba@hotmail.com>

Thu 12/6/2018 6:23 AM

To; USCIS-CaseStatus@dhs.gov <USCIS-CaseStatus@dhs.gov>
Re: Asylum case #A 205 784 039

Dear Mr.Radel,

| hope this e mail finds you well.

Since me and my family did our interview on 04/26/2015, we did not get a decision yet. This is almost my 56th inquiry - if not more- about
the status of my asylum case decision , [ tried several times to check at the office about any updates or reasons why there is no decision
made during all that time, but no one was able to help me.

Even my lawyer can not find out the reason why there is no decision made in my case... it looks like my lawyer needs a lawyer to help him.

Sir, you are my last resort for help, can you please let me know what is going on in my case? The staff always says if they need more
information they will let me know, but they do not ask for any, and in the same time no decision is being made. so, if they have all the needed
information to give a final decision, then why is the delay? And if there is something missing whey no one ask for it?

Even me -the main applicant- | can not find out the reason for that delay, so who can help me with that, it looks like a closed circle with no
end.

Sir, Please, Please, please help me and my family by having an officer examine my case and give a final decision or inform me about the
reason for that delay maybe we can offer any needed information that can help.

If because of the long-time period between our interview date 04/26/2015 and today maybe the case officer is not comfortable to take a

decision, we are more than happy to re-do an interview — if this can help-, If any documents are needed, we can offer it. But just let us know
what is needed.

Thank you very much for your time reading this e mail.
Kind regards

Karen Athanasious.
12/05/2018

Sent from QCutlook

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6/9/2021 Mail - karen wahba - Outloak

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 25 of64 Page ID #:25

Re: EXPEDITED DECISION REQUESTED, Inquiry # 55 0

karen wahba <karenwahba@hotmail.com>
Thu 11/29/2018 6:25 AM

To: USCIS-CaseStatus@dhs.gov <USCIS-CaseStatus@dhs.gov>

Re: Asylum case #A 205 784 039
Dear Mr.Radel,

| hope this e mail finds you well.

Since me and my family did our interview on 04/26/2015, we did not get a decision yet. This is almost my 54th inquiry - if not more- about
the status of my asylum case decision, | tried several times to check at the office about any updates or reasons why there is no decision
made during all that time, but no one was able to help me.

Even my lawyer can not find out the reason why there is no decision made in my case... it looks like my lawyer needs a lawyer to help him.

Sir, you are my last resort for help, can you please let me know what is going on in my case? The staff always says if they need more
information they will let me know, but they do not ask for any, and in the same time no decision is being made. so, if they have all the needed
information to give a final decision, then why is the delay? And if there is something missing whey no one ask for it?

Even me -the main applicant- | can not find out the reason for that delay, so who can help me with that, it looks like a closed circle with no
end.

Sir, Please, Please, please help me and my family by having an officer examine my case and give a final decision or inform me about the
reason for that delay maybe we can offer any needed information that can help.

If because of the long-time period between our interview date 04/26/2015 and today maybe the case officer is not comfortable to take a

decision, we are more than happy to re-do an interview — if this can help-, If any documents are needed, we can offer it. But just let us know
what is needed.

Thank you very much for your time reading this e mail.
Kind regards

Karen Athanasious.
11/28/2018

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6/9/2021 Mail - karen wahba - Outlook

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 26 of 64 Page ID #:26

Re: EXPEDITED DECISION REQUESTED, Inquiry # 55

karen wahba <karenwahba@hotmail.com>

Wed 11/14/2018 4:23 PM

To: USCIS-CaseStatus@dhs.gov <USCIS-CaseStatus@dhs.gov>
Re: Asylum case #A 205 784 039

Dear Mr.Radel,

| hope this e mail finds you well.

Since me and my family did our interview on 04/26/2015, we did not get a decision yet. This is almost my 55th inquiry - if not more- about
the status of my asylum case decision , | tried several times to check at the office about any updates or reasons why there is no decision
made during all that time, but no one was able to help me.

Even my lawyer can not find out the reason why there is no decision made in my case... it looks like my lawyer needs a lawyer to help him.

Sir, you are my [ast resort for help, can you please let me know what is going on in my case? The staff always says if they need more
information they will let me know, but they do not ask for any, and in the same time no decision is being made. so, if they have all the needed
information to give a final decision, then why is the delay? And if there is something missing whey no one ask for it?

Even me -the main applicant- | can not find out the reason for that delay, so who can help me with that, it looks like a closed circle with no
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Sir, Please, Please, please help me and my family by having an officer examine my case and give a final decision or inform me about the
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If because of the long-time period between our interview date 04/26/2015 and today maybe the case officer is not comfortable to take a

decision, we are more than happy to re-do an interview — if this can help-, If any documents are needed, we can offer it. But just let us know
what is needed.

Thank you very much for your time reading this e mail.
Kind regards

Karen Athanasious.
11/14/2018

Sent from Outlook

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6/9/2021 Mail - karen wahba - Outlook

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 27 of 64 Page ID #:27

EXPEDITED DECISION REQUESTED, Inquiry # 54 WN

karen wahba <karenwahba@hotmail.com>
Thu 10/11/2018 6:14 AM

To: USCIS-CaseStatus@dhs.gov <USCIS-CaseStatus@dhs.gov>

Re: Asylum case #A 205 784 039

Dear Mr.Radel,

| hope this e mail finds you well.

Since me and my family did our interview on 04/26/2015, we did not get a decision yet. This is almost my 53rd inquiry - if not more- about
the status of my asylum case decision , | tried several times to check at the office about any updates or reasons why there is no decision
made during all that time, but no one was able to help me.

Even my lawyer can not find out the reason why there is no decision made in my case... it looks like my lawyer needs a lawyer to help him.

Sir, you are my last resort for help, can you please let me know what is going on in my case? The staff always says if they need more
information they will let me know, but they do not ask for any, and in the same time no decision is being made. so, if they have all the needed
information to give a final decision, then why is the delay? And if there is something missing whey no one ask for it?

Even me -the main applicant- | can not find out the reason for that delay, so who can help me with that, it looks like a closed circle with no
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Sir, Please, Please, please help me and my family by having an officer examine my case and give a final decision or inform me about the
reason for that delay maybe we can offer any needed information that can help.

If because of the long-time period between our interview date 04/26/2015 and today maybe the case officer is not comfortable to take a

decision, we are more than happy to re-do an interview — if this can help-, if any documents are needed, we can offer it. But just let us know
what is needed.

Thank you very much for your time reading this e mail.
Kind regards

Karen Athanasious.
10/10/2018

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6/9/2021 Mail - karen wahba - Outlook

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 28 of 64 Page ID #:28

To be directed to Mr. David M. Radel, Inquiry # 53, EXPEDITED DECISION REQUESTED Mv

karen wahba <karenwahba@hotmail.com>
Wed 9/26/2018 3:21 PM
To: USCIS-CaseStatus@dhs.gov <USCIS-CaseStatus@dhs.gov>

Re: Asylum case #A 205 784 039
Dear Mr.Radel,

| hope this e mail finds you well.
Since me and my family did our interview on 04/26/2015, we did not get a decision yet. This is almost my 53rd inquiry - if not more- about

the status of my asylum case decision , | tried several times to check at the office about any updates or reasons why there is no decision
made during all that time, but no one was able to help me.

Even my lawyer can not find out the reason why there is no decision made in my case... it looks like my lawyer needs a lawyer to help him.

Sir, you are my last resort for help, can you please let me know what is going on in my case? The staff always says if they need more
information they will let me know, but they do not ask for any, and in the same time no decision is being made. so, if they have all the needed
information to give a final decision, then why is the delay? And if there is something missing whey no one ask for it?

Even me -the main applicant- | can not find out the reason for that delay, so who can help me with that, it looks like a closed circle with no
end.

Sir, Please, Please, please help me and my family by having an officer examine my case and give a final decision or inform me about the
reason for that delay maybe we can offer any needed information that can help.

If because of the long-time period between our interview date 04/26/2015 and today maybe the case officer is not comfortable to take a
decision, we are more than happy to re-do an interview — if this can help-, If any documents are needed, we can offer it. But just let us know
what is needed.

Thank you very much for your time reading this e mail.
Kind regards

Karen Athanasious.
09/26/2018

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6/9/2021 Mail - karen wahba - Outlook

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 29 of 64 Page ID #:29

\A

Re: Attention Mr. David M. Radel, Inquiry # 53

karen wahba <karenwahba@hotmail.com>

Wed 9/19/2018 3:45 PM

To: Los Angeles Asylum <LosAngelesAsylum@uscis.dhs.gov>; USCIS-CaseStatus@dhs.gov <USCIS-CaseStatus@dhs.gov>
Dear Sirs,

Per your last e mail below, | did not receive decision yet regarding my case, hence | am contacting you one more time seeking your help.
can someone please look into my case to see why it is being delayed for all that time?

My Lawyer had another case that did the same interview at that same day with that same officer " Her name is: Niazze", and this particular
case also still pending till today, so there is something happened at that cate with this officer that causes this delay in these 2 different
unrelated interview decisions, the common factors in here are, the same officer & Same day, same lawyer.

My lawyer was able to reach out to Mrs,Niazze and he knew form her that, she has moved to a different department right after doing our

interviews, and she has handed all her pending cases “Including the above mentioned 2 ones" to a supervisor, our hunch is that, since she has

handed them over to a supervisor, nothing happened, and we do not know the reason why there was a break in the system in handling such
scenarios. "We could be wrong though"

Can you piease have a detailed look into why our case is being pending for that long time? if they are in the process of that extra long review,
can you please let us know what are they reviewing, maybe we can help and provide any info that can speed their decision? , obviously, there
is something missing, that is why they are taking that long time. we can help if someone let us know. or maybe no one wants to take that
Case since it was handed to a supervisor and just being kept like that.

By the way i am sending the inquiry number 53 today to check on the status of my pending case, | send an inquiry every Wednesday.

Please Please Please help us.

Thank you, very much.

Karen

Sent from Outlook

 

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6/9/2021 Mail - karen wahba - Outlook

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 30 0f64 Page ID #:30

To be directed to Mr. David M. Radel, Inquiry # 52

\S

karen wahba <karenwahba@hotmail.com>
Thu 9/13/2018 4:19 AM
To: USCIS-CaseStatus@dhs.gov <USCIS-CaseStatus@dhs.gov>

Re: Asylum case #A 205 784 039
Dear Mr.Radel,

| hope this e mail finds you well.

Since me and my family did our interview on 04/26/2015, we did not get a decision yet. This is almost my 52nd inquiry - if not more- about
the status of my asylum case decision , | tried several times to check at the office about any updates or reasons why there is no decision
made during all that time, but no one was able to help me.

Even my lawyer can not find out the reason why there is no decision made in my case... it looks like my lawyer needs a lawyer to help him.

Sir, you are my last resort for help, can you please let me know what is going on in my case? The staff always says if they need more
information they will let me know, but they do not ask for any, and in the same time no decision is being made. so, if they have all the needed
information to give a final decision, then why is the delay? And if there is something missing whey no one ask for it?

Even me -the main applicant- I can not find out the reason for that delay, so who can help me with that, it looks like a closed circle with no
end.

Sir, Please, Please, please help me and my family by having an officer examine my case and give a final decision or inform me about the
reason for that delay maybe we can offer any needed information that can help.

If because of the long-time period between our interview date 04/26/2015 and today maybe the case officer is not comfortable to take a
decision, we are more than happy to re-do an interview — if this can help-, If any documents are needed, we can offer it. But just let us know
what is needed.

Thank you very much for your time reading this e mail.

Kind regards

Karen Athanasious.
09/12/2018

Sent from Outlook

hitps:/outlook live.com/mail/Ofid/ AQMkKADAWATZiZmYAZCO40ABiZi1INDBILTAWAIOWMAGARGAAA%2FCY ILKtodBCtZIZOk7 TUsg HAI6mBgMWSsZDo0JOakKZUCKYAAAIBCOAAAIGmBgMW9sZDo0JCa... 1/4
6/9/2021 Mail - karen wahba - Outlook

To be directed to Mr. David M. Radel, Inquiry # 51

karen wahba <karenwahba@hotmail.com>
Thu 9/6/2018 4:21 AM

To: USCIS-CaseStatus@dhs.gov <USCIS-CaseStatus@dhs.gov>
Re: Asylum case #A 205 784 039

Dear Mr.Radel,

| hope this e mail finds you well.

Since me and my family did our interview on 04/26/2015, we did not get a decision yet. This is almost my 51st inquiry - if not more- about
the status of my asylum case decision , | tried several times to check at the office about any updates or reasons why there is no decision
made during all that time, but no one was able to help me.

Even my lawyer can not find out the reason why there is no decision made in my case... it looks like my lawyer needs a lawyer to help him.

Sir, you are my last resort for help, can you please let me know what is going on in my case? The staff always says if they need more
information they will let me know, but they do not ask for any, and in the same time no decision is being made. so, if they have all the needed
information to give a final decision, then why is the delay? And if there is something missing whey no one ask for it?

Even me -the main applicant- | can not find out the reason for that delay, so who can help me with that, it looks like a closed circle with no
end.

Sir, Please, Please, please help me and my family by having an officer examine my case and give a final decision or inform me about the
reason for that delay maybe we can offer any needed information that can help.

lf because of the long-time period between our interview date 04/26/2015 and today maybe the case officer is not comfortable to take a

decision, we are more than happy to re-do an interview — if this can help-, If any documents are needed, we can offer it. But just let us know
what is needed.

Thank you very much for your time reading this e mail.
Kind regards

Karen Athanasious.
09/05/2018

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 31o0f64 Page ID #31

Sent from Outlook

hitps://outlook.live.com/mail/Ofid/AQMkKADAWATZIZMYAZCO4ODABIZI1IN DBILTAWAIOwMADARgAAA%2FCYILKtodBCtZIZ0k7 TJsgHAl6mbgMW9sZDoQJOaKZUCKYAAAIBCOAAAIGMEGMWOsZDo0JOa. i

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WA
6/9/2021 Mail - karen wahba - Outlook

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 32 of 64 Page ID #:32

\F

To be directed to Mr. David M. Radel, Inquiry # 50

karen wahba <karenwahba@hotmail.com>
Wed 8/29/2018 2:44 PM

To: USCIS-CaseStatus@dhs.gov <USCIS-CaseStatus@dhs.gov>

Re: Asylum case #A 205 784 039
Dear Sirs,

| hope this e mail finds you well.

Since me and my family did our interview on 04/26/2015, we did not get a decision yet. This is almost my 50th inquiry - if not more- about
the status of my asylum case decision , | tried several times to check at the office about any updates or reasons why there is no decision
made during all that time, but no one was able to help me.

Even my lawyer can not find out the reason why there is no decision made in my case... it looks like my lawyer needs a lawyer to help him.

Sir, you are my last resort for help, can you please let me know what is going on in my case? The staff always says if they need more
information they will let me know, but they do not ask for any, and in the same time no decision is being made. so, if they have all the needed
information to give a final decision, then why is the delay? And if there is something missing whey no one ask for it?

Even me -the main applicant- | can not find out the reason for that delay, so who can help me with that, it looks like a closed circle with no
end.

Sir, Please, Please, please help me and my family by having an officer examine my case and give a final decision or inform me about the
reason for that delay maybe we can offer any needed information that can help.

If because of the long-time period between our interview date 04/26/2015 and today maybe the case officer is not comfortable to take a

decision, we are more than happy to re-do an interview — if this can help-, If any documents are needed, we can offer it. But just let us know
what is needed.

Thank you very much for your time reading this e mail.
Kind regards

Karen Athanasious.
08/29/2018

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6/9/2021 Mail - karen wahba - Outlook

Re: case #A 205 784 039

karen wahba <karenwahba@hotmail.com>
Wed 8/22/2018 6:12 AM

To: USCIS-CaseStatus@dhs.gov <USCIS-CaseStatus@dhs.gov>

Re: Asylum case #A 205 784 039
Dear Sirs,

| hope this e mail finds you well.
Since me and my family did our interview on 04/26/2015, we did not get a decision yet. This is almost my 50th inquiry - if not more- about

the status of my asylum case decision , | tried several times to check at the office about any updates or reasons why there is no decision
made during all that time, but no one was able to help me.

Even my lawyer can not find out the reason why there is no decision made in my case... it looks like my lawyer needs a lawyer to help him.

Sir, you are my last resort for help, can you please let me know what is going on in my case? The staff always says if they need more
information they will let me know, but they do not ask for any, and in the same time no decision is being made. so, if they have all the needed
information to give a final decision, then why is the delay? And if there is something missing whey no one ask for it?

Even me -the main applicant- | can not find out the reason for that delay, so who can help me with that, it looks like a closed circle with no
end.

Sir, Please, Please, please help me and my family by having an officer examine my case and give a final decision or inform me about the
reason for that delay maybe we can offer any needed information that can help.

If because of the long-time period between our interview date 04/26/2015 and today maybe the case officer is not comfortable to take a
decision, we are more than happy to re-do an interview — if this can heip-, If any documents are needed, we can offer it. But just let us know
what is needed.

Thank you very much for your time reading this e mail.
Kind regards

Karen Athanasious.
08/21/2018

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 33 of 64 Page ID #:33

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12
6/9/2021 Mail - karen wahba - Outlook

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 34 of 64 Page ID #:34

Re: case #A 205 784 039

karen wahba <karenwahba@hotmail.com>
Wed 8/15/2018 8:10 AM

To: USCIS-CaseStatus@dhs.gov <USCIS-CaseStatus@dhs.gov>
Re: Asylum case #A 205 784 039

Dear Sirs,

| hope this e mail finds you well.
since me and my family did our interview on 04/26/2015, we did not get a decision yet. This is almost my 49th inquiry - if not more- about

the status of my asylum case decision , | tried several times to check at the office about any updates or reasons why there is no decision
made during all that time, but no one was able to help me.

Even my lawyer can not find out the reason why there is no decision made in my case... it looks like my lawyer needs a lawyer to help him.

Sir, you are my last resort for help, can you please let me know what is going on in my case? The staff always says if they need more
information they will let me know, but they do not ask for any, and in the same time no decision is being made. so, if they have all the needed
information to give a final decision, then why is the delay? And if there is something missing whey no one ask for it?

Even me -the main applicant- | can not find out the reason for that delay, so who can help me with that, it looks like a closed circle with no
end.

Sir, Please, Please, please help me and my family by having an officer examine my case and give a final decision or inform me about the
reason for that delay maybe we can offer any needed information that can help.

if because of the long-time period between our interview date 04/26/2015 and today maybe the case officer is not comfortable to take a
decision, we are more than happy to re-do an interview — if this can help-, if any documents are needed, we can offer it. But just let us know
what is needed.

Thank you very much for your time reading this e mail.

Kind regards

Karen Athanasious.
08/15/2018

Sent from Outlook

https://outlook.live.com/mail/O/id/AQMKADAWAT ZiZmYAZC 040ABiZi1INDBILTAWAIDWMADARGAAA%2FCYILKtodBCtziZ0 k7 TJsgHAl6m6gMW9sZDo0JOakZUCKYAAAIBCOAAAIBmBgMW9sZDo0JOa..

WA

qf
6/9/2021 Mail - karen wahba - Outlook

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 35o0f64 Page ID #35

Re; case #A 205 784 039

20

karen wahba <karenwahba@hotmail.com>
Thu 8/9/2018 6:25 AM

To: USCIS-CaseStatus@dhs.gov <USCIS-CaseStatus@dhs.gov>

Re: Asylum case #A 205 784 039
Dear Sirs,

| hope this e mail finds you well.
Since me and my family did our interview on 04/26/2015, we did not get a decision yet. This is almost my 48th inquiry - if not more- about

the status of my asylum case decision , ! tried several times to check at the office about any updates or reasons why there is no decision
made during all that time, but no one was able to help me.

Even my lawyer can not find out the reason why there is no decision made in my case... it looks like my lawyer needs a lawyer to help him.

Sir, you are my last resort for help, can you please let me know what is going on in my case? The staff always says if they need more
information they will let me know, but they do not ask for any, and in the same time no decision is being made. so, if they have all the needed
information to give a final decision, then why is the delay? And if there is something missing whey no one ask for it?

Even me -the main applicant- | can not find out the reason for that delay, so who can help me with that, it looks like a closed circle with no
end.

Sir, Please, Please, please help me and my family by having an officer examine my case and give a final decision or inform me about the
reason for that delay maybe we can offer any needed information that can help.

If because of the long-time period between our interview date 04/26/2015 and today maybe the case officer is not comfortable to take a
decision, we are more than happy to re-do an interview — if this can help-, If any documents are needed, we can offer it. But just let us know
what is needed.

Thank you very much for your time reading this e mail.
Kind regards

Karen Athanasious.
08/08/2018

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6/9/2021 Mail - karen wahba - Outlook

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 36 of 64 Page ID #:36

Re: case #A 205 784 039

2

karen wahba <karenwahba@hotmail.com>
Thu 8/2/2018 7:46 AM

To: USCIS-CaseStatus@dhs.gov <USCiS-CaseStatus@dhs.gov>

Re: Asylum case #A 205 784 039
Dear Sirs,

| hope this e mail finds you well.

Since me and my family did our interview on 04/26/2015, we did not get a decision yet. This is almost my 47th inquiry - if not more- about
the status of my asylum case decision , | tried several times to check at the office about any updates or reasons why there is no decision
made during all that time, but no one was able to help me.

Even my lawyer can not find out the reason why there is no decision made in my case... it looks like my lawyer needs a lawyer to help him.

Sir, you are my last resort for help, can you please let me know what is going on in my case? The staff always says if they need more
information they will let me know, but they do not ask for any, and in the same time no decision is being made. so, if they have all the needed
information to give a final decision, then why is the delay? And if there is something missing whey no one ask for it?

Even me -the main applicant- | can not find out the reason for that delay, so who can help me with that, it looks like a closed circle with no
end.

Sir, Please, Please, please help me and my family by having an officer examine my case and give a final decision or inform me about the
reason for that delay maybe we can offer any needed information that can help.

If because of the long-time period between our interview date 04/26/2015 and today maybe the case officer is not comfortable to take a
decision, we are more than happy to re-do an interview — if this can help-, If any documents are needed, we can offer it. But just let us know
what is needed.

Thank you very much for your time reading this e mail.
Kind regards

Karen Athanasious.
08/01/2018

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6/9/2021 Mail - karen wahba - Outlook

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 37 of 64 Page ID #:37

Att Mr. David M. Radel, Inquiry # 46 or even more

22

karen wahba <karenwahba@hotmail.com>
Thu 7/26/2018 3:27 PM
To: USCIS-CaseStatus@dhs.gov <USCIS-CaseStatus@dhs.gov>

Re: Asylum case #A 205 784 039
Dear Mr. Radel,

| hope this e mail finds you well.

Since me and my family did our interview on 04/26/2015, we did not get a decision yet. This is almost my 46th inquiry - if not more- about
the status of my asylum case decision , | tried several! times to check at the office about any updates or reasons why there is no decision
made during all that time, but no one was able to help me.

Even my lawyer can not find out the reason why there is no decision made in my case... it looks like my lawyer needs a lawyer to help him.

Sir, You are my last resort for help, can you please let me know what is going on in my case? The staff always says if they need more
information they will let me know, but they do not ask for any, and in the same time no decision is being made. so, if they have all the needed
information to give a final decision, then why is the delay? And if there is something missing whey no one ask for it?

Even me -the main applicant- f can not find out the reason for that delay, so who can help me with that, it looks like a closed circle with no
end.

Sir, Please, Please, please help me and my family by having an officer examine my case and give a final decision or inform me about the
reason for that delay maybe we can offer any needed information that can help.

If because of the long-time period between our interview date 04/26/2015 and today maybe the case officer is not comfortable to take a
decision, we are more than happy to re-do an interview — if this can help-, If any documents are needed, we can offer it. But just let us know
what is needed.

Thank you very much for your time reading this e mail.

Kind regards

Karen Athanasious.
07/26/2018

Sent from Qutlook

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6/9/2021 Mail - karen wahba - Qutiook

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 38 of 64 Page ID #:38

Re: Att Mr. David M. Radel, inquiry # 45 or even more

x2

karen wahba <karenwahba@hotmail.com>
Thu 7/19/2018 5:29 AM

To: USCIS-CaseStatus@dhs.gov <USCIS-CaseStatus@chs.gov>

Re: Asylum case #A 205 784 039
Dear Mr. Radel,

| hope this e mail finds you well.
Since me and my family did our interview on 04/26/2015, we did not get a decision yet. This is almost my 45th inquiry - if not more- about

the status of my asylum case decision , | tried several times to check at the office about any updates or reasons why there is no decision
made during all that time, but no one was able to help me.

Even my lawyer can not find out the reason why there is no decision made in my case... it looks like my lawyer needs a lawyer to help him.

Sir, you are my last resort for help, can you please let me know what is going on in my case? The staff always says if they need more
information they will let me know, but they do not ask for any, and in the same time no decision is being made. so, if they have all the needed
information to give a final decision, then why is the delay? And if there is something missing whey no one ask for it?

Even me -the main applicant- | can not find out the reason for that delay, so who can help me with that, it looks like a closed circle with no
end.

Sir, Please, Please, please help me and my family by having an officer examine my case and give a final decision or inform me about the
reason for that delay maybe we can offer any needed information that can help.

If because of the long-time period between our interview date 04/26/2015 and today maybe the case officer is not comfortable to take a

decision, we are more than happy to re-do an interview — if this can help-, If any documents are needed, we can offer it. But just let us know
what is needed.

Thank you very much for your time reading this e mail.

Kind regards
Karen Athanasious.
07/18/2018

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“ ©

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Cottrell, Kristi L

 

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From: Los Angeles Asylum CTO WECM SPT ED
Sent: Wednesday, July 11, 2018 7:39 AM (SpROV a FOR TIL ING 4
To: karen wahba (karenwahba@hotmail.com) 4 ly \ I | 8
Subject: RE: Attention Mr. David M. Radel m™ are
DLA

{nitials:
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Dear Ms. Athanasious,

Your case is currently under extended review. If you have not received a decision by September
10, 2018, please contact our office again.

Thank you,

Los Angeles Asylum Office
P.O. Box 65015
Anaheim, CA 92815-8515

LosAngelesAsylum@uscis.dhs.gov
From: karen wahba [maitto: -karenwahba@hotmail. con]

Sent: Wednesday, June 27, 2018 11:38 PM
To: Los Angeles Asylum
Subject: Attention Mr. David M. Radel

Re: Asylum case #A 205 784 039
Dear Mr. David,

| hope this e mail finds you well.

Since me and my family did our interview on 04/26/2017, we did not get a decision yet. This is almost my

20th inquiry - if not more- about the status of my asylum case decision , | tried several times to check at the
office about any updates or reasons why there is no decision made during all that time, but no one was able to
help me.

Even my lawyer can nat find out the reason why there is no decision made in my case... it looks like my lawyer
needs a lawyer to help him in my case.

Sir, you are my last resort for help, can you please let me know what is going on in my case? The staff always
says if they need more information they will let me know, but they do not ask for any, and in the same time no -
decision is being made. so, if they have all the needed information to give a final decision, then why is the
delay? And if there is something missing whey no one ask for it?

Even me -the main applicant- | can not find out the reason for that delay, so who can help me with that, it

looks like a closed circle with no end.

Sir, Please, Please, please help me and my family by having an officer examine my case and give a final
decision or inform me about the reason for that delay maybe we can offer any needed information.

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és Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21_ Page 40 of 64 Page ID #:40
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If because of the long-time period between our interview date 04/26/2017 and today our case officer is not
comfortable to take a decision, we are more than happy to re-do an interview — if this can help-, If any
documents are needed, we can offer it. But just let us know what is needed.

Thank you very much for your time reading this e mail.

Kind regards
Karen Athanasious.
06/27/2018

2S
6/9/2021 Mail - karen wahba - Outlook

Att Mr. David M. Radel

karen wahba <karenwahba@hotmail.com>
Thu 7/5/2018 6:21 AM

To: USCIS-CaseStatus@dhs.gov <USCIS-CaseStatus@dhs.gov>

Re: Asylum case #A 205 784 039

Dear Mr. Radel,

| hope this e mail finds you well.

Since me and my family did our interview on 04/26/2017, we did not get a decision yet. This is almost my 20th inquiry - if not more- about
the status of my asylum case decision , | tried several times to check at the office about any updates or reasons why there is no decision
made during all that time, but no one was able to help me.

Even my lawyer can not find out the reason why there is no decision made in my case... it looks like my lawyer needs a lawyer to help him.

Sir, you are my last resort for help, can you please let me know what is going on in my case? The staff always says if they need more
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lf because of the long-time period between our interview date 04/26/2017 and today maybe the case officer is not comfortable to take a

decision, we are more than happy to re-do an interview — if this can help-, If any documents are needed, we can offer it. But just let us know
what is needed.

Thank you very much for your time reading this e mail.
Kind regards

Karen Athanasious.
07/04/2018

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 41o0f64 Page ID #41

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Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 42 of 64 Page ID #:42

aes ‘ +

Cottrell, Kristi L

 

“ETON COMB ETE |
A PP

From: Los Angeles Asylum , ASI WVU FOR BELESO: |
Sent: Thursday, July 05, 2018 11:36 AM | APPROVE ESS
To: * ‘karen wahba’ to fe sal Is
Subject: RE: Attention Mr. David M. Radel ; tniwals: 7 ,;

peCOMnit, ZL

Dear Ms. Athanasious, ALOS | §4 03g

We reached out to the officer assigned to your case and found that it remains under extended
_review. Unfortunately, we cannot provide you with an estimated completion date at this

time. If you do not receive a decision by September 5, 2018, please feel free to reach out to us
again. Your case clock is running at 1833 days.

Thank you,

Los Angeles Asylum Office
P.O. Box 65015
Anaheim, CA 92815-8515

LosAngelesAsylum@uscis.dhs.gov

From: karen wahba [mailto:karenwahba@hotmail.com]
Sent: Wednesday, July 04, 2018 11:24 PM

To: Los Angeles Asylum

Subject: Re: Attention Mr. David M. Radel

Re: Asylum case #A 205 784 039 -
Dear Mr. Radel,

| hope this e mail finds you well.

Since me and my family did our interview on 04/26/2017, we did not get a decision yet. This is almost my

20th inquiry - if not more- about the status of my asylum case decision , | tried several times to check at the
office about any updates or reasons why there is no decision made during ail that time, but no one was able to
help me.

Even my lawyer can not find out the reason why there is no decision made in my case... it looks like my lawyer
needs a lawyer to help him.

Sir, you are my last resort for help, can you please let me know what is going on in my case? The staff always
says if they need more information they will let me know, but they do not ask for any, and in the same time no
decision is being made. so, if they have all the needed information to give a final decision, then why is the
delay? And if there is something missing whey no one ask for it?

Even me -the main applicant- f can not find out the reason for that delay, so who can help me with that, it
looks like a closed circle with no end.

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Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 43 of 64 Page ID #:43

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Sif, Please, Please, please help me and my family by having an officer examine my case and give a final
decision or inform me about the reason for that delay maybe we can offer any needed information that can
help.:

If begause of the long-time period between our interview date 04/26/2017 and today maybe the case officer is
not comfortable to take a decision, we are more than happy to re-do an interview — if this can help-, If any
documents are needed, we can offer it. But just let us know what is needed.

Thank you very much for your time reading this e mail.

Kind regards, & Happy 4th of July

Karen Athanasious.
07/04/2018

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Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 44 of 64 Page ID #:44

LOS ANGELES ASYLUM OFFICE

Mailing Address:
P.O. Box 65015
Anaheim, CA 92815-5015

File Number

Applicant

Signature of Applicant

Date and Place of Birth
Country of Nationality

Current Address

Telephone Number

Date Initial Form 1-589 Filed
(Asylum Application)

Interview Conducted?
Re-Interyiew Conducted?

Interviewing Officer, if
known

Attomey, if any

Street Address: -
1585 So. Manchester Ave.
vege the Anaheim, CA. 92802
cw petc bn Phone: 714-808-8000
Fax: 714-635-8707
LosAngelesAsylum(@uscis.dhs.gov-

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ASYLUM CASE STATUS INQUIRY FORM

Date of Inquiry. 4/ ip Z o iY,

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(Circle One)(“Yes) No Ifyes, Date apr C Q 5

(Circle One) Yes (Qo) Ifyes, Date

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Phone

Nature of Inquiry: wWe bagl suv wile view and wa antwey
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Only complete inquiries will be accepted. Mail or fax inquiries to the Post Office Box address or fax number shown above.
Please attach copies of any correspondence between you and the USCIS regarding your asylum case. Attach additional
sheets as necessary to fully explain your case,

Your response will be mailed to you within 15 working days from the date your inquiry is received by this office.

(Revised O5/5/14-K'V)

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w Case 8:21-cv-91080-JVS-DFM Document1 Filed 06/21/21 Page 45 of 64 Page ID #:45

January 25, 2018

KAREN SHOKRY ATHANASIOUS
2560 W LA PALMA AVE APT 130
ANAHEIM, CA 92801

Re: AXXXXXXXX

Dear KAREN SHOKRY ATHANASIOUS:

: 7 @

U.S. Department of Homeland Security
Los Angeles Asylum Office

P.O. Bax 65613

Anaheim CA 92815

Tel: (714) 808-8000
Fax: (714) 635-8707
Email: LosAngelesAsyJum(@uscis.dhs.gov

US. Citizenship
and Immigration
Services

 

    

This letter is in response to your representative request received on December 11, 2017.

Status/Inquiry

A decision on your case is currently pending. You wiil be notified by mail if further information is required.

Please visit our website at www.uscis. gov/asylum to access the regularly updated Affirmative Asylum
Scheduling Bulletin for current processing times.

Sincerely,
jor

David M. Radel, Director
Los Angeles Asylum Office

CC: MARIANNE SALIB
LAW OFFICES OF HANI 5 BUSHRA
16541 GOTHARD ST #208
HUNTINGTON BEACH, CA 92647

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LAW OFFICES OF HANI S. BUSHRA
16541 Gothard St. # 208-Huntington Beach - California 92647
Telephone: (7]4) 984-2000 Fax: (714) 489-8128
Web: www.Bushralaw.com - Email: hani@bushralaw.com

 

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December 11, 2017 S =
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USCIS & — =
1585 5 Manchester Ave, . rn
Anaheim, CA 92802 ns A SS
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Dear Director David Radel,

I am an attorney at the Law Offices of Hani §. Bushra and am writing to you regarding five of
nzy asylum cases, which are still pending decision by their Asylum Officers. I have listed the cases
below. While some of these Applicants have been pending for over 6 months, others have been
awaiting a decision for over 2 years. This extensive delay has caused these Applicants and their
families a great deai of anxiety and the inability to settle down.

On April 21, 2015, SMM interviewed
and subsequently interviewed Karen Shokry Athanasious, A# 205-784-039, My office is aware that
Officer Niazi has been relocated within USCIS and to another location altogether. Applicants’
decisions have been pending over 2 years; therefore, we are requesting a decision i in both their cases.

On May 8, 2015, Officer Zavala interviewed
aM Applicant remained pending decision in his case for 2 years until he was called back for a re-
interview. On June 15, 2017, he was re-interviewed by Officer Bautista. Applicant’s decision has been
pending over 2 years for a decision; therefore, we are requesting a decision in his case.

On February 24, 2017, Officer Johnson interviewed Applicant aia IIte SEEDS
Applicant’s decision has been pending for 9 months; therefore, we are requesting a decision in his

case.

On June 9, 2017, Officer Hedyati interviewed Applicants,

as.
Applicant is a single, 76-year old, who is supported by her family and neighbors. Applicant also has
numerous medical issues, in which she cannot address until there is a final decision reached in her

case. Applicant’s decision has been pending for 6 months, therefore, we are requesting a decision in
her case.

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2 Fee ee Document 1 Filed 06/21/21 Page 47 of 64 Page ID #:47
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We request that final decisions be issued in these cases in order to allow Applicants and their
families to move forward from their uncertain futures, If you have any questions, please don’t hesitate
to contact our office.

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be

Sincerely;

Marianne Salib, Esq.

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2/Page
6/9/2021 Mail - karen wahba - Outlook

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 48 of 64 Page ID #:48

To Mr. David M. Radel

53

karen <karenwahba@hotmail.com>
Mon 12/4/2017 6:29 AM

To: losangelesasylum@uscis.dhs.gov <losangelesasylum@uscis.dhs.gov>
Re: A 205 784 039

Dear Mr. David,

| hope this e mail finds you well.

Since the last letter that | received from you on Mar 16, 2017 regarding my case decision, nothing happened, | tried several times to ask at
the office about any updates or reasons why there is no decision made during all that time, but no one was able to help me.

Even my lawyer can not find out the reason why there is no decision made in my case... it looks like my lawyer needs a lawyer to help him in
my case.

Sir, you are my last resort for help, can you please let me know what is going on in my case? The staff always says if they need more
information they will let me know, but they do not ask for any, and in the same time no decision is being made. so, if they have all the needed
information to give a final decision, then why is the delay? And if there is something missing whey no one ask for it?

Even me -the main applicant- | can not find out the reason for that delay, so who can help me with that, it looks like a closed circle with no
end.

Sir, Please, Please, please help me and my family by giving a final decision or inform me about the reason for that delay maybe we can offer
any needed information.

lf because of the long-time period between our interview date 04/26/2017 and today our case officer is not comfortable to take a decision,

we are more than happy to re-do an interview — if this can help-, lf any documents are needed, we can offer it. But just let us know what is
needed.

Thank you very much for your time reading this e mail.
Kind regards

Karen Athanasious.
12/03/2017

https://outlook. live.com/mail/Ofid/AQMkADAWATZiIZmYAZC D4 OABiZi 1INDBILTAWAIOWMADARGAAA%2FCYILKtodBCIZIZOk7 TUsg HAI6mBbgMW9sZDo0JOaKZUCKYAAAIBCOAAAI6BmBgMW9sZDOOJOa... 1/2
Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 49 of 64 Page ID #:49

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Mailing Address: Street Address: - ,
1585 So. Manchester Ave.

P.O. Box 65015
Anaheim, CA 92815-5015 7817 Alig 30 AW 9. 3 Ansheim, CA 92802
“™ Phone: 714-808-8000

ASYLUM Fax: 714-635-8707
LOS ANGELES - LosAngelesAsylum@uscis.dhs.gov-

ASYLUM CASE STATUS INOUIRY FORM

Data of Inquiry, 2) 20f Jeol

 

 

 

 

 

 

 

 

 

 

 

 

 

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. (Last Name) (First Name)
Signature of Applicant "  \evan Axhomoss AS
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Date and Place of Birth \o | £ Ag
Country of Nationality E ay ot
Current Address 25 6 6 MW Lex Palme ANG) DIR OWE IO = CAS
Telephone Number Qn % Laguy ZZ, ©
Dato Initial Form I-589 Filed
(Asylum Application): ° ° ,
Interview Conducted? (Circle One) (Ye No Hyes,Date_ apy } 2 0 9 ; "
Re-Interyiew Conducted? (Citcle One) Yes No ‘Ifyes, Date
Interviewing Officer, if N ~ .
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Nature of Inquiry: whe watt? Aeh any ANSWER CnC Wwe
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_ Only complete inquiries will be accepted, Mail or fax inquiries to fhe Past Office Box address or fax number shown aboye,
Please attach copies of any correspondence between you and the USCIS regarding your asylum ease, Attach additional

sheets as necessary to fully explain your casa.

Your response will be mailed to you within 15 working days from the date your inquiry is received by this office.

(Revised 05/5/14-KEV)

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Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 50o0f64 Page ID #:50

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LOS ANGELES ASYLUM OFFICE “2
C
Mailing Address: Street Address: -
P.O. Box 65015 1585 So. Manchester Ave.
Anaheim, CA 92815-5015 Anaheim, CA 92802
Phone: 714-808-8000

Fax: 714-635-8707
LosAngelesAsylum@uscis.dhs.gov-

ASYLUM CASE STATUS INQUIRY FORM

Date of Inquiry, <1 Lz) ( > \z.

 

 

 

 

 

 

 

 

 

 

 

 

File Number Z7oS-A7Agqgu - 23%
Applicant
Athemasiovs Karen
(Last Name} (First Name)
Signature of Applicant Hamer Memes: LOMAS
Date and Place of Birth lo Lol SAAS % i
T t fag 5
Country of Nationality Say PT. = &
Current Address 25 be Lat Lew Palme ANE S ADA heim 2 om
APTH 126 CA, ag Za f Ma
wo 7 2c? J ; eS
Telephone Number ANG Left) VZU © — es
7 OY
Date Initial Form 1-589 Filed tO
(Asylum Application) ‘ “=
Interview Conducted? © (Circle One) ( Ye No Ifyes, Date?) aPVi L ZaAAD
Re-Interview Conducted? (Circle One) Yes No Ifyes, Date of
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Interviewing Officer, if My . é . Or. OFF
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Nature of Inquiry: cS) Vice Wwe, \nad.e tae. WwWewnpon Sie
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Only complete inquiries will be accepted. Mail or fax inquiries to the Post Office Box address or fax number shown aboye
Please attach copies of any correspondence betweén you and the USCIS regarding your asylum case. Attach additional

 

sheets as necessary to fully explain your case.
Your response will be mailed to you within 15 working days from the date your inquiry is received by this office

(Revised 05/5/14-KV) 2, S
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ee Document 1 Filed 06/21/21 Page 51 of64 Page ID #51

€ U.S. Department of Homeland Security
“ Los Angeles Asylum Office
P.O. Bey 635015
Anahetn CA 92815

Tel: (714) 808-8000
Fax: (714) 635-8707 |
Email: LosAngelesAsylum@uscis.dhs.gov

aay U.S. Citizenship

March 16, 2017 and Immigration

 

BS Services
KAREN SHOKRY WAHBA ATHANASIOUS
2560 W LA PALMA APT 130
ANAHEIM CA 92801
Re: A205 784039 . v ELE C8; oY

Dear KAREN SHOKRY WAHBA ATHANASIOUS:

This letter is in response to your request received on March 08, 2017.

Status/Inquiry
[¥] A decision on your case is currently pending. You will be notified by mail if further information is
required.

Please visit our website at www. uscis.gov/asylum to access the regularly updated Affirmative Asylum
Scheduling Bulletin for current processing times.

Sincerely,

for Sula. bolle Le

David M. Radel, Director

Los Angeles Asylum Office
CC: HANI S BUSHRA po ~
16541 GOTHARD ST STE 208 L flLe @g py

HUNTINGTON BEACH CA 92647

 
Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 52 o0f64 Page ID #:52

 

 

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Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 53 o0f64 Page ID #:53

v

Mailing Address:
P.O, Box 65015
Anaheim, CA 92815-5015

File Number

Applicant

Signature of Applicant
Date and Place of Bith

Country of Nationality

Current Address

Telephone Number

Date Initial Form I-59 Filed
(Asylum Application)

Interview Conducted?
Re-Interview Conducted?

Interviewing Officer, if
known

Attorney, if any

Nature of Inquiry: yy

Se @o

LOS ANGELES ASYLUM OFFICE

Street Address: -

1585 So. Manchester Ave.
Anaheim, CA. 92802

Phone: 714-808-8000

Fax: 714-635-8707
LosAngelesAsylum@uscis.dhs, gov:

ASYLUM CASE STATUS INQUIRY FORM

Date of Inquiry. 3 {2 /_| f-

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(Last Name) ” (First Name)y

     
 

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Only complete inquiries will be accepted, Mail or fax inquiries to the Post Office Box address or fax number shown aboye.
Please attach copies of any correspondence between you and the USCIS regarding your asylum case, Attach additional
sheets as nécessary to fully explain your case,

Your response will be mailed to you within 15 working days from the date your inquiry is received by this office.

MAR 16 2017

{Revised 05/5/14-KV}_

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Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 54o0f64 Page ID #54

 

"BI

Smith, Stephen C (Steve) .
ne
From: Smith, Stephen C (Steve)
Sent: Wednesday, March 08, 2017 2:15 PM a
To: Dickstein, Sallie L
Subject: FW: Request For Status For Case 205784039
Attachments: AXXXXXXXX. pdf
Tracking: Recipient Read
Dickstein, Sallie L Read: 3/8/2017 2:21PM ’

Good afternoon Sallie, a

The applicant for case A2057840389 is here inquiring as to the status of her decision, she was interviewed on 4/21/15 by ZLAQO1. The applicant did provide a -
letter which is included as an attachment. | had included Dong Zee on the original e-mail and he had indicated that the file is with you, which it still is:

General Inquiry For AXXXXXXXX
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: CORE IN US ;
H Audit Date: © 03/03/2017 11:40:52 AM
| | i : Last Action: OVOS2017 11:40:544M Audit
Is there any information that you need or should | tell them that the case is Pending, under extended review.

 

Bast regards,

Steve
SCISA

 

From: Smith, Stephen C (Steve)

Sent: Wednesday, March 01, 2017 1:36 PM

To: Dickstein, Sallie L; Zee, Bong ;
Subject: Request For Status For Case 205784039

Good afternoon Sallie and Dong,

| had the applicant for case AXXXXXXXX come in today wanting to know the status of his case. At this time NFTS indicates that the case is located with FDNS,
extended review, Cart 0420:
Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 55o0f64 Page ID #:55

 

LAW OFFICES OF HANI S, BUSHRA
16541 Gothard St. #208 -Huntington Beach - California 92647
Telephone: (714) 984-2000 Fax:(714) 489-8128
Web: www.Bushralaw.com - Email: hani@bushralaw.com

 

Via Personal Delivery
December 16, 2016
Los Angeles Asylum Office
1585 South Manchester Avenue
Anaheim, CA. 92802
Attention Officer: Raihana Niazi

Re: Karen Shokry Athanasious A# 205-784-039

Dear Officer Niazi

_ Thope that this letter finds you well.
Iam writing you about the above case, which you interviewed, on Apr 21,2015. As of the writing of
this letter, no decision has been taken in this matter. The Applicant and J have submitted multiple
inquires about the status of the matter, but we received no response.
1 am hoping that you can provide me with information related to the status of this case.
I appreciate your help with this matter.

Very Truly Ypurs,

Hani Bushra
Attorney for the Applicant

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Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 56 of 64 Page ID #:56

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U.S. Department of Homeiand Security
P.O. Box 65015
Anaheim CA 92815

U.S. Citizenship
} and Immigration
Services

 

November 04, 2016 A205 784 039

KAREN SHOKRY WAHBA ATHANASIOUS
2560 W LA PALMA AVE APT 130
ANAHEIM CA 92801

Dear Mrs, ATHANASIOUS,
This letter is in response to your inquiry of 11/03/16.

[] To process your inquiry, you must provide your Alien Registration Number, Date of Birth,
Full Name, and Country of Birth; your inquiry is attached, Please return this notice with
your inquiry once you have provided the requested information.

<] Your case is still pending. You will be notified by mail of any decisions relating to your
case. Please notify this office of any change of address to prevent delays in receiving further
notifications regarding your case,

(] No interview has been scheduled as of the date of this review. You will be notified by mail
approximately two (2) weeks prior to the scheduled interview date.

[_] Inquiries regarding Employment Authorization Cards can be answered at the National
Customer Service number, 1-800-375-5283, or on line at USCIS. gov.

[] ‘Your case was administratively closed on . To request reconsideration of your case,
please notify this office in writing and provide proof of your timely attempt to notify this
office regarding rescheduling your interview.

[.] Your case has been referred to the Immigration Judge for the following reason. Please
contact the immigration court with jurisdiction over your case.

L]} The address you provided the Service was no longer valid and mail sent to your
address was returned undeliverable.
[1] You failed to appear for your interview on

[] lmorder for this office to process your request, you need to provide to proof of pursuing
other benefits.
Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 57 of 64 Page ID #:57

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L] nr office acknowledges your request to withdraw your asylum case. It does not delay a decision
rendered by our office.

[_]Your case has been transferred to the District Office having jurisdiction over your case.
[ }Your case has been referred to the Immigration Judge.

L] interviews for ABC applicants are not being scheduled at this time. You will be notified by mail when
interviews will be conducted.

L.] Your application for asylum has been confirmed but your original application is not on file. Please complete the
attached paperwork and send it to the address on this letter. Please include a copy of this letter with your
correspondence.

[] Ifaresponse is requested, please return this letter to with your correspondence.

[_] This office has no record of your I-589 applications. Please provide a copy of your original application with any
future correspondence regarding this case.

[] Other:

Sincerely,

Libya

“David Radel
Director, Los Angeles Asylum Office

CC: Hani Busha, Esq.
16541 Gothard St Ste 208
Huntington Beach, CA 92647
t

Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 58 of 64 Page ID #:58

 

LOS ANGELES ASYLUM OFFICE

Mailing Address:
P.O. Box 65015
Anaheim, CA 92815-5015

Street Address:

1585 So. Manchester Ave.

Anaheim, CA 92802
Phone: 714-808-8000
Fax: 714-635-8707

ASYLUM CASE STATUS INQUIRY FORM

_ File Number

Applicant

Signature of Applicant
Date and Place of Birth
Country of Nationality

Current Address

Telephone Number

Date Initial Form J-589 Filed
(Asylum Application)

Interview Conducted?
Re-Interview Conducted?

Interviewing Officer, if
known

Attorney, if any

Nature of Inquiry: —

Only complete inquiries will be accepted. Mail or fax inquiries to the I

Date of Response,

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10/06/1985 Alexandria, Egypt wy
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Egypt —2@

 

#560 West La Palma Ave #130
Anaheim, CA

818-434-2240

Jun/28/2013

 

(Circle One) Yes No

H yes, Date Apr/ 21/2015

 

(Circle One) Yes No If yes, Date
* O. Niazi
Hani 8. Bushra Phone 714-984-2000

 

Case. Shfoe

   

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Post “Office: Box adduess Or fax nuinber

shown above. Please attach copies of any correspondence between you and the INS regarding your asylum
case. Attach additional sheets as necessary to fully explain your case,

Your response will be mailed to you within 15 working days from the date your inquiry is received by this

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arom Document 1 Filed 06/21/21 Page 59 of 64 Page ID #:59

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LOS ANGELES ASYLUM OFFICE
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Mailing Address: : as "Street Address:
P.O. Box 65015". 1585 So. Manchester Ave.
Anaheim, CA 99815-5015 Anaheim, CA 92802 ‘

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ASYLUM CASE STATUS INQUIRY FORM

Date of Response.

 

 

 

 

 

 

 

 

 

 

 

_ File Number | Ar__ 995 794 930
Applicant
Athanasious Karen
; (Last Name) ~ (First Name)
Signature of Applicant Karen Aha. NaS Tous
Date and Place of Birth 10/06/1985 Alexandria, Egypt
Country of Nationality Egypt
Current Address» 2560 West La Palma Ave #130
. Anaheim, CA
Telephone Number 818-434-2240
Date Initial Form J-589 Filed
(Asylum Application) Fan/28/2013
Interview Conducted? (Circle One) (es) No Ifyes, Date_ Apr/ 21/2015
Re-Interview Conducted? - (Circle One) Yes | No If yes, Date |
Interviewing Officer, if - O. Niazi
known ‘
Attomey, if any . Hani S. Bushra Phone 714-984-2000
Nature of Inquiry: _

 

 

 

Only compiete inquiries will be accepted. Mail or fax inquiries te the Post Office Box address or fax nutiber
shown above. .Please attach copies of any correspondence between you and the INS regarding your asylum
case, Attach additional sheets as necessary to fully explain your case.

Your response will be mailed to you within 15 working days from the date your inquiry is received by this

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Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 60o0f64 Page ID #:60

Mailing Address:
P.O. Box 65015

Anaheim, CA 92815-5015

File Number

Applicant

Signature of Applicant

Date and Place of Birth

_ Country of Nationality

Current Address

Telephone Number

Date Initial Form I-589 Filed
(Asylum Application)

Interview Conducted?
Re-Interview Conducted?

Interviewing Officer, if
known

Attorney, if any

Nature of Inquiry:

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LOS ANGELES ASYLUM OFFICE

Street Address:
1585 So. Manchester Ave.
Anaheim, CA 92802 ,

 

 

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Date of Inquiry. Crunnins)
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Only complete inquiries will be accepted. Mail or fax inquirles to the Post Office Box address or fax number shown above.

Please attach copies of any correspondence between you and the USCIS regarding your asylum case. Attach additional
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(Revised 05/5/14-KV)

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Case 8:21-cv-01080-JVS-DFM Document1 Filed 06/21/21 Page 61o0f64 Page ID #61

LOS ANGELES ASYLUM OFFICE

Street Address: (b)(7)(€)

1585 So, Manchester Ave.
Anaheim, CA 92802

 

 

 

 

Mailing Address:
P.O. Box 65015
Anaheim, CA 92 art

 

 

 

 

 

 

 

 

 

 

 

 

 

      

 

\ (bX 7c)
ASYLUM CASE STATUS INQUIRY FORM
Date of Inquiry.
File Number A 2obi TR o3%
Applicant
P\nomas Lous Warent
(Last Name} (First Name) o
Signature of Applicant Ss 9
= >
Date and Place of Birth \o / of / 25 ze ar
= RIG
Country of Nationality Se 24 12 7 ° mo
a
ae £m
Current Address 2$eao WwW la Palma ONE) \Beo, A wererian ad
CA AD%e\ fF
Telephone Number * Q \A \USly ~27Cve
Date Initial Form I-589 Filed ——
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Interview Conducted? (Circle One) No _ Iflyes, Date APY) L 2 AS
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Only complete inquiries will be accepted. Mail or fax inquiries to the Post Office Box address or fax number shown above.

Please attach copies of any correspondence between you and the USCIS regarding your asylum case, Attach additional
sheets as necessary to fully explain your case.

Your response will be mailed to you within 15 working days from the date your inquiry is received by this office.

(Revised 05/5/14-KV)

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LOS ANGELES ASYLUM OFFICE

Mailing Address: Street Address:
P.O. Box 65015

1585 So. Manchester Ave.
Anaheim, CA 92815-3015 Anaheim, CA 927802

 

 

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ASYLUM CASE STATUS INQUIRY FORM

 

 

 

 

 

 

 

 

Date of Inquiry.
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File Num - Beeb 7h -o 2 “
Applicant
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(Last Name) (First Name)
Signature of Applicant
Date and Place of Birth \e / bj ZL Qs
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Your response will be mailed to you withia (5 working days from the date your inquicy is reeeived by this office.

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a 9 LOS ANGELES ASYLUM. OFFICE
Mailing Address: ' Street Address:
P.O. Box 65015 1585 So. Manchester Ave.
Anaheim, CA 92815-5015 Anaheim, CA 92802
(TMC)
ASYLUM CASE STATUS INQUIRY FORM :
Date of Inquiry. \ ‘) .

File Number A 9.5 - ~RZuU-e?h.
Applicant

Breanne? aus . Keven

(Last Name) {First Name)
Signature of Applicant
Date and Place of Birth \a leg LISS 5
Country of Nationality xsy f T
Current Address 2 \ L .
CA, 42% \

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Date Initial Form 1-589 Filed
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Re-interview Conducted? (Circle One) Yes No If yes, Date

Interviewing Officer, if

 

 

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(Revised 05/5/14-K'V)

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